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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,
                                                               CASE No. 1:20-CR-183
v.
                                                               HON. ROBERT J. JONKER
ADAM DEAN FOX, et al.,

               Defendants.

_______________________________/

                                  RESTRICTED ACCESS ORDER

                                         INTRODUCTION

       This order supplements the record regarding the issue the Court addressed in an earlier

Order (ECF No. 709). For the reasons that follow, the Court is satisfied on the present record that

the jury as it is presently constituted can fairly and impartially decide this case.

                                          BACKGROUND

       Jury selection in this case began on August 9, 2022. The Court conducted an extensive

voir dire of all potential jurors called into the jury box, and counsel for the Government, Defendant

Fox, and Defendant Croft all had a chance to question the jury array as well. At the end of the

day, a jury consisting of twelve jurors and six alternates was sworn. During voir dire, all jurors

indicated, under oath, that they could fairly and impartially decide this case, and put aside any

preconceived biases, political or otherwise. Before recessing for the day, the Court gave the

general admonitions it gives in all jury trials, including an instruction not to discuss the case with

others, including other jurors.
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         The parties presented opening statements and the government began its proofs on August

10, 2022. Later that evening, Attorney Blanchard, counsel for Defendant Croft, alerted court staff

to potential misconduct on the part of one of the jurors in this case. No other information was

given at that time. But Attorney Blanchard noted that the Court may want to deal with the issue

in a non-public way to limit the risk of publicity that could affect the fairness of the process as it

unfolds.

         The next day, August 11, 2022, the Court held an in chambers hearing with counsel present

before the trial day began consistent with Attorney Blanchard’s point about the sensitivity of the

matter and consistent with the Court’s past practice in similar matters. There Attorney Blanchard

disclosed information that had been received by his office from a coworker of one Juror1 the

previous evening. According to the report as relayed by Attorney Blanchard, sometime before

trial in this case began the subject Juror told a coworker about the summons for federal juror duty,

and about the prospective juror’s hope of being selected for jury duty and, more specifically, for

the then-upcoming kidnapping trial involving Governor Whitmer. According to the report, the

subject Juror expressed a strong opinion about the Defendants’ guilt and indicated that if chosen,

he or she would make sure that the Defendants were found guilty. The caller corroborated some

of the known information about the subject Juror and gave Attorney Blanchard’s office his own

name and phone number. Attorney Blanchard disclosed this information to the Court and other

counsel. The Court interpreted the report at the time as coming from an individual reporting a

direct, firsthand conversation with the subject Juror.

         After receiving input from the parties, the Court proceeded with the normal trial day on

August 11. All parties and sitting jurors were present, and nothing in Attorney Blanchard’s


1
  The Court and the parties know what particular Juror is the subject of the report. It is not necessary for purposes of
this Order to identify the individual by name or number.

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disclosure suggested any damage to the actual jury, which had been instructed not to discuss the

case with each other. There was also need to conduct some additional factual research because the

subject Juror, like all the others, had sworn to do the job faithfully and had affirmed under oath an

ability to be fair regardless of any views formed before coming into the box. Before presenting a

sworn and sitting juror with what amounts to a claim of false oath-taking, drilling down concrete

facts is essential. Accordingly, the Court’s jury clerk followed up with the individual who had

called Attorney Blanchard, using the name and number provided by Attorney Blanchard, while the

case proceeded in the ordinary course. It would have needlessly wasted the time of the jury, the

witnesses, and the parties to delay trial under the circumstances.

       The information received by the jury clerk included some similarities to that relayed by

Attorney Blanchard, but the information was different in several material respects. Notably, the

jury clerk learned the reporting coworker had not directly spoken with the subject Juror or heard

anything directly from the Juror. Rather the information the reporting coworker provided had

come secondhand through another coworker of both the reporting individual and the subject Juror.

The reporting coworker had no direct contact with the subject Juror about the Juror’s feelings about

this case, jury service, or anything about the instant matter. He did not even know for sure if the

subject Juror was serving on this case. The caller was simply reporting a secondhand report from

someone else about what that other person reportedly heard from the subject Juror. Moreover, the

jury clerk was unable to confirm the report with the other coworker because that coworker had

reportedly expressed a desire not to speak or otherwise be identified, and the person who did call

refused to identify the person. The jury clerk did confirm that the entirety of the reported

information involved a time before jury selection in this case began.




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        The Court disclosed the jury clerk’s report to counsel both for the defense and the

government at the conclusion of the trial day on August 11 during an on the record hearing in

chambers. The Court expressed an intention to proceed with a conversation with the subject Juror

in the same manner as the Court had proceeded when a similar issue arose during the first trial in

this matter: the Court would speak with the subject Juror at the conclusion of the trial day about

the report, and later give the parties a chance to review an unofficial transcript of the conversation.

The Court would consult with counsel further if the interview suggested the need for additional

follow up. The Government agreed with this approach but Attorney Blanchard, later joined with

Attorney Gibbons, objected to not being present during the conversation with the subject Juror.

Attorney Blanchard also expressed a concern that the subject Juror was somehow manipulating

the jury during trial to ensure an allegedly desired outcome. Attorney Blanchard asked that the

entirety of the jury be questioned on the matter with the parties present, or that the Court declare a

mistrial. The Court overruled Attorney Blanchard’s objections for the reasons stated on the record,

and affirmed its intention to follow the approach it outlined.

        That evening, Attorney Blanchard filed a brief entitled “Brief Regarding Possible Juror

Issue” which is best characterized as an objection to the procedure the Court outlined at the end of

the trial day. (ECF No. 707).2 In it, Defendant Croft maintained that the defense was entitled to

an evidentiary hearing in the parties’ presence. The approach the Court outlined, the defense

further insisted, would constitute both a constitutional violation, and a violation of Rule 43.

        Contrary to Attorney Blanchard’s recognition of the sensitivity of the matter in his initial

disclosure; how a similar matter had been handled in an earlier trial in this case involving the same




2
 The brief recites that the Court learned of the issue on “June 11,” but that actual date was August
11.
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counsel; and how all parties had proceeded during the trial day on August 11, the brief was filed

on the public docket.3 Of course, the public filing created the risk of distorted publicity potentially

affecting the fairness of the proceeding, which is exactly why the Court had expected non-public

proceedings to address the matter until the jury is discharged. The Court first learned of the public

filing in the early hours of August 12, 2022. At 6:14 a.m., the Court entered an Order placing

Attorney Blanchard’s brief under restricted access.

        The Court proceeded with the trial day on August 12, 2022, and then interviewed the

subject Juror in chambers with only court personnel present. This included the Court reporter who

transcribed the conversation.4

                                      LEGAL STANDARDS

        “The fair trial right secured by the Sixth Amendment guarantees, in pertinent part, that an

accused is entitled to ‘trial[ ] by an impartial jury.’” English v. Berghuis, 900 F.3d 804, 813 (6th

Cir. 2013) (quoting U.S. Const. amend. VI). An impartial jury is one that is “capable and willing

to decide the case solely on the evidence before it.” Smith v. Phillips, 455 U.S. 209, 217 (1982).

“It is well established that a district court may remove a juror for instances of misconduct,




3
  Indeed, all the parties have been concerned throughout this case about how publicity might affect
fairness, to the point the defense sought a change of venue. This was front and center on juror
issues too, in the first trial. Thus protecting the jury process, and shielding them from any external
influence, has been central to all involved from the beginning of the case. It is also why the Court
and counsel have been using only juror numbers, rather than names, in public proceedings.
4
  An official copy of the Court’s interview with the subject Juror will not be available until the
conclusion of trial. In the meantime, counsel for the government and counsel for both defendants
may make arrangements with chambers staff to view an unofficial rough transcript of the interview
in chambers. At this stage, counsel will simply be permitted to review the document in chambers,
and will not be permitted to make or take a copy with them outside chambers, reproduce the rough
transcript in their own hand, or take any notes while reviewing it in chambers. It is simply an
opportunity for counsel to receive the same information available to the Court regarding the subject
Juror. As the parties will see, the Court did not disclose to the Juror that the information originally
came through any particular party or attorney in the case.
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including bias, an inability to follow instructions, or a lack of candor under oath.” United States

v. Ozomaro, ___ F.4th ___, 2022 WL 3274122, at *4 (6th Cir. Aug. 11, 2022) (citing Wofford v.

Woods, 969 F.3d 685, 701-05 (6th Cir. 2020). “The legal framework for a claim of juror bias such

as the one asserted here comes from [McDonough Power Equipment, Inc. v. Greenwood 464 U.S.

548 (1984)].” Id. at 813; see also United States v. Fulks, 454 F.3d 410, 431 (4th Cir. 2006)

(applying McDonough to criminal trials).        “Under McDonough, for a prospective juror’s

nondisclosure to warrant a new trial, a defendant must show that (1) the juror ‘failed to answer

honestly a material question on voir dire,’ and (2) ‘a correct response would have provided a valid

basis for a challenge for cause.’” English, 900 F.3d at 813 (quoting McDonough, 464 U.S. at 556).

Under Rule 24(c)(1) of the Federal Rules of Criminal Procedure, the Court may “replace any jurors

who are unable to perform or who are disqualified from performing their duties.” FED. R. CRIM.

P. 24(c)(1).

                                         DISCUSSION

       1. Objections to Court’s Approach

       Counsel’s objections to the Court’s approach outlined after the trial day yesterday are

unpersuasive. “[T]he scope of investigation into a juror’s ability to remain impartial is committed

to the sound discretion of the district court.” United States v. Ozomaro, ___ F.4th ___, 2022 WL

3274122, at *3 (6th Cir. Aug. 11, 2022). There is no set mechanism here. “All that is needed [is]

sufficient information to make an informed decision.” Id. (quoting United States v. Jones, 747 F.

App’x 348 (6th Cir. 2018)). Numerous cases have emphasized the broad range of discretion

district courts with respect to these delicate matters. See, e.g., id. at 2022 WL 3274122, at *3;

United States v. Bart¸ 888 F.3d 374, 379 (8th Cir. 2018); United States v. Boylan¸ 898 F.2d 230,

258 (1st Cir. 1990) (noting the “kaleidoscopic variety of possible problems counsels in favor of



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flexibility.”); United States v. Caldwell, 776 F.2d 989, 996-999 (11th Cir. 1985) (noting discretion

where trial court questioned juror about anonymous report in private); United States v. Copeland,

51 F.3d 611, 613 (6th Cir. 1995) (“The trial judge is in the best position to determine the nature of

the alleged jury misconduct . . . [and] is also in the best position to determine appropriate

remedies[.]”). The approach the Court outlined to the parties best addresses the various concerns

inherent in these types of situations. The approach is as follows: 1) continuing with trial as

investigation proceeds; 2) a transcribed, private interview with the juror rather than full hearing

with counsel; 3) no interviews of other jurors unless and until an evidentiary basis supports the

need; and (4) ensuring a full record on a non-public basis until the jury is discharged.

       This process allows gathering of the necessary information while minimizing disruption

and risk to the overall process. It ensures that the Court, and not any party, has contact with a

sitting juror as the case is progressing, minimizing the risk that the inquiry itself will affect the

juror or sour the juror on one side or the other. The Court was careful not to indicate how the

report of alleged misconduct reached the Court to ensure the subject Juror had no reason to blame

one party over the other for the situation. The process also ensured an incremental step process

with minimal impact for the affected juror if the investigation turned up insufficient reason to

believe the Juror had been or was being unfaithful to the oaths taken.

       Attorney Blanchard’s insistence that the parties, or at least the defense, needed to be present

during the Court’s questioning is not convincing. “[I]t is clear there is no constitutional right for a

defendant to be present at a conference in chambers concerning dismissal of a juror.” United States

v. Cornett, 195 F.3d 776, 781 n.4 (5th Cir. 1999) (citing United States v. Provenzano, 620 F.2d

997, 997 (3d Cir. 1980)). Moreover, as the Court stated earlier, “there is no constitutional right to

be present at every interaction between the judge and a juror. See Rushen v. Spain, 464 U.S. 114,



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125 (1983) (Stevens, J., concurring) (“I think it quite clear that the mere occurrence of an ex parte

conversation between a trial judge and a juror does not constitute a deprivation of any

constitutional right.”); see also United States v. Gagnon, 470 U.S. 522, 527 (1985) (finding no

Fifth Amendment violation during misconduct conference); United States v. Watchmaker, 761

F.2d 1459, 1466 (11th Cir.), reh’g denied, 766 F.2d 1493 (1985) (no Fifth Amendment violation

when judge met with juror and later provided transcripts to parties); United States v. Yonn, 702

F.2d 1341, 1345-46 (11th Cir. 1983) (use of in camera interviews did not prejudice defendants);

United States v. Patterson, 587 F. App'x 878, 884-85 (6th Cir. 2014) (ex parte conversation with

court and jurors did not amount to constitutional violation); United States v. Caldwell, 776 F.2d

989, 997 (11th Cir. 1985) (finding “some benefit” in the absence attorneys during court’s

investigation of juror misconduct and noting the “district court’s procedure of reading the

transcripts and soliciting suggestions as to the manner of proceeding provided all of the

opportunity for participation that the appellant could have had short of direct questioning of the

juror by his counsel.”); see also United States v. Peterson, 385 F.3d 127, 138 (2d Cir. 2004) (“In

sum, Judge Larimer’s private on the record meeting with juror number three, followed by reading

and discussing the transcript of that meeting with defense counsel, was neither a due process

violation nor a violation of Federal Rule of Criminal Procedure 43;5 it was an efficient way to

assess the extent of any juror misconduct and formulate an appropriate response.”). There was no

error in the Court’s private interview of the subject Juror.




5
 The Court agrees with the Second Circuit’s conclusion that Rule 43 does not cover the kind of in
chambers hearing at issue here, when the issue arises post-empanelment and involves potential
pre-verdict juror misconduct. At a minimum, there is no clear error as long as there is no due
process violation. United States v. Caldwell, 776 F.2d 989, 996-997 (1985).
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       Finally, to the extent Attorney Blanchard requests the Court individually question other

jurors on whether there has been any taint based on the subject Juror’s presence on the jury, the

Court declines to do so. There has been no information at all to suggest that the subject Juror is

somehow tainting the jury process. There is nothing in the report, either as relayed by Attorney

Blanchard or to the jury clerk, that addresses the issue at all. Indeed, the observation of both the

Court and court staff during the brief occasions before ushering the jury into the courtroom is that

the subject Juror sits apart from the rest of the jury in the jury room and immediate adjoining

hallway, which is not what one would expect of someone intent on tainting the jury. And as other

courts have observed in investigating potential juror misconduct “[i]n this endeavor, sometimes

less is more.” United States v. Cox, 324 F.3d 77, 88 (2d Cir. 2003). Asking every juror whether

a particular juror in the box was breaking the rules—in the absence of any information at all

suggesting that—would needlessly plant suspicion and create the risk of dissention, potentially

making it impossible to continue with the group as empaneled.

       For all these reasons, the objections contained in the brief (ECF No. 707) are overruled.

       2. The Subject Juror’s Impartiality

       Applying McDonough, the Court is eminently satisfied that the present record does not

provide a basis for removing the subject Juror for bias.          “McDonough first ‘requires a

determination of whether the juror’s answers [during voir dire] were honest.’” United States v.

Carpa, 271 F.3d 962, 957 (11th Cir. 2001) (quoting BankAtlantic v. Blythe Eastman Paine

Webber, Inc., 955 F.2d 1467, 1473 (11th Cir. 1992)). “Then, there must be a showing of bias that

would disqualify the juror.” Id. “A juror’s dishonesty is a strong indication of bias.” Id.

       The record at present does not demonstrate dishonesty. During the interview, the Court

squarely presented the report of the subject Juror’s alleged statements. The Juror repeatedly and



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consistently denied making any such statements. Based on the Court’s observation of the Juror’s

demeanor and behavior, these responses were credible. They are also consistent with the Juror’s

statements during voir dire that the Juror could put aside any preconceived views and decide the

case based just on the evidence and law presented—assurances the Juror repeated in chambers.

The subject Juror’s behavior during trial buttresses this conclusion. Interactions with other jurors,

to the extent court personnel can observe it, evince no hushed whispers or other indicia of a desire

to manipulate. And the Juror’s behavior in the jury box is entirely inconsistent with someone who

has a made a predetermined decision to find the defendants guilty. The Juror has consistently been

attentive and engaged during both the government’s presentations and each defendant’s cross.6


6
 Indeed, the Juror has been engaged at times when other jurors have checked out of what, in the
Court’s view, has sometimes been needlessly long and repetitive lines of cross examination.

 Regarding the Rule 403 concerns of “undue delay, wasting time, or needlessly presenting
cumulative evidence,” the Court advised counsel that it would be considering over the weekend
whether to impose time limits or other restrictions similar to those describe and imposed by Judge
Bertelsman in United States v. Reaves, 636 F.Supp. 1575 (E.D. Ky. 1986). The Court highlighted,
in particular, Judge Bertelsman’s presumptive time limit on cross-examination limiting all crossing
parties combined to the time used with the witness on direct exam. Id., at 1581. The Court still
thinks Judge Bertelsman’s limit is a good rule of thumb, and one that actually tends to improve the
impact a cross-examination. But the Court has decided not to impose it by Order—at least not
yet—because defense counsel has recently observed and at least tacitly endorsed the underlying
rationale in a public tweet:




Josh Blanchard (@joshuablanchard), TWITTER (Aug.                  3,   2022,    6:09   PM),
https://twitter.com/joshuablanchard/status/1554952545587568640?s=20&t=rM3sqSGmBlw4CSf
vG-sivw. Yes, it’s hard. But it can be done—and with powerful effect. The Court observes that
similar principles apply to re-direct examinations.
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The Juror has taken notes when defense counsel have made what were, in the Court’s mind,

especially good points, or broke new ground—and even when in the Court’s view the points were

not particularly strong.

         Against these observations, the subject Juror’s statements under oath during voir dire, and

the Juror’s responses during the in chambers interview, the Court has only the double hearsay

report of an individual given to Attorney Blanchard, and the partially consistent report later given

to the jury clerk. But the reporting individual did not hear any statements from the subject Juror

and did not even know personally if the Juror was on the case. And the coworker who allegedly

did hear the remarks is unidentified and unwilling to be identified or to speak with the Court’s jury

clerk. Nor would the reporting caller identify this person.

         For these reasons, the Court is satisfied on the present record, after investigating the matter

and conducting the analysis required of McDonough, that the subject Juror can remain in office

and fairly and impartially decide this case, as the Juror promised to do. Accordingly, to the extent

the defense has requested the Court dismiss the subject Juror and proceed with an alternate under

Rule 24, the request is denied on the present record.

         The Clerk shall file a copy of this Order on a restricted access basis, available for now only

to the parties and the Court.

         IT IS SO ORDERED.




Dated:       August 14, 2022                    /s/ Robert J. Jonker
                                                ROBERT J. JONKER
                                                UNITED STATES DISTRICT JUDGE




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